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UNITED STATES DISTRICT COURT                           SOUTHERN DISTRICT OF TEXAS

DISH Network L.L.C.,                        §
                                            §
               Plaintiff,                   §
                                            §
versus                                      §                 Civil Action H-21-859
                                            §
Dinesh Vigneswaran, et al.,                 §
                                            §
               Defendants.                  §


                   Plaintiff DISH Network L.L.C.’s Status Report

         On September 13, 2021, Plaintiff DISH Network L.L.C. (“DISH”) filed applications

for Clerk’s entry of default against Defendants Dinesh Vigneswaran (“Vigneswaran”)

and DOES 1-10, individually and together d/b/a ChitramTV and Chitram.tv

(“ChitramTV”). (Dkts. 26-27.) The applications for Clerk’s entry of default were served

on Vigneswaran and ChitramTV pursuant to the certificates of service. (Dkts. 26-4, 27-3.)

The Clerk entered default against Vigneswaran and Chitram TV on September 20, 2021.

(Dkt. 31.)

         DISH filed a motion for default judgment against Vigneswaran and ChitramTV on

October 14, 2021. (Dkt. 35.) The motion for default judgment was served on Vigneswaran

and ChitramTV pursuant to the certificate of service. (Dkt. 35-12.)

         On October 19, 2021, undersigned received an email from Farrukh Nurdinov, Esq.,

attaching a file called “Dinesh statement.pdf.” Exhibit 1 is a copy of this email and its

attachment.
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       On October 22, 2021, undersigned received an email from Vigneswaran, attaching

two files called “statement.pdf” and “Written Statement (Dinesh).pdf.” Exhibit 2 is a

copy of this email and its attachments.

       On October 22, 2021, undersigned emailed both Farrukh Nurdinov, Esq. and

Vigneswaran and told them it is their responsibility to review the Court rules and docket

and make their own filings with the Court. Undersigned also re-informed them that a

motion for default judgment (Dkt. 35) was filed with the Court on October 14, 2021 and

is pending. Exhibit 3 is a copy of this email and its attachments. Neither Vigneswaran

nor his attorney responded to the email.

       Entering default judgment against Vigneswaran and ChitramTV is still

appropriate. See Drinnon v. Allstate Ins. Co., 88 F. App’x 9, 10 (5th Cir. 2004) (affirming

default judgment where defendant filed answer the same day default was entered but

failed to show why their default was excusable); In re Dierschke, 975 F.2d 181, 183–84 (5th

Cir. 1992) (affirming default judgment where the defendant inexplicably waited until

plaintiff moved for default judgment to contest the case, which was two months after

defendant was served and after default had been entered); Charlton L. Davis & Co. v.

Fedder Data Ctr., Inc., 556 F.2d 308, 309 (5th Cir. 1977) (reviewing cases and stating that

default judgment is properly granted against a defendant that has shown an intent to

defend but fails to cure their default when served with notice of plaintiff’s motion for

default judgment); McGrady v. D'Andrea Elec., Inc., 434 F.2d 1000, 1001 (5th Cir. 1970)

(affirming default judgment against defendant that filed answer prior to entry of default

judgment, and stating, “The court should not reopen a default judgment merely because

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the party in default requests it, but should require the party to show both that there was

good reason for the default and that he has a meritorious defense to the action.”); DISH

Network L.L.C. v. Sanchez, No. 1:11-cv-01485-AWI-SKO, 2012 WL 2090439, at *10 (E.D. Cal.

June 8, 2012) (“A defaulted party loses his standing before the court and his right to

present evidence on issues other than unliquidated damages.”) (citing Nishimatsu Constr.

Co. v. Hous. Nat'l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975)); Clifton v. Tomb, 21 F.2d 893,

897 (4th Cir. 1927) (stating that a defaulted defendant cannot appear and contest a motion

for default judgment without first setting aside the default).


Dated: October 26, 2021                          Respectfully submitted,

                                                 HAGAN NOLL & BOYLE LLC

                                                 By: /s/ Stephen M. Ferguson
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